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UNITED STATES DISTRICT COURT See
SOUTHERN DISTRICT OF CALIFORNIA wie

Christensen, CASE NO.11CV2636-MMABES):._
Plaintiff, av AD
te nnn SED Ly
vs. JUDGMENT AND DISMISSAL BY COURT
UNDER RULE 4(m) F.R.Civ.P. FOR WANT
Papadopoulos, et al., OF PROSECUTION
Defendant.

The above-entitled cause, having come before the court on a calendar called
pursuant to notice under Rule 4(m), F.R.Civ.P. for failure to serve
process, and it appearing to the court that the summons and complaint have
not been served, and no extension of time to serve has been requested,

therefore,

IT IS ORDERED, ADJUDGED AND DECREED that the above-entitled cause is hereby

dismissed as to defendant(s) Papodopoulos et al., (without) prejudice,

for want of prosecution.

DATED: 8/27/2012

Michael M. Anello
UNITED STATES DISTRICT JUDGE

ENTERED ON

